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                         EXHIBIT C
               (November 2023 Emails)
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Wes Rahn

Subject:                        FW: CCG v. CCBOER




From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Tuesday, November 21, 2023 6:00 PM
To: Wes Rahn <wrahn@olivermaner.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>
Cc: Marilyn Marks <marilyn@uscgg.org>; Ben Perkins <bperkins@olivermaner.com>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>
Subject: RE: CCG v. CCBOER

Wes: I thought we made clear on the pre-hearing conf call with you guys before the last
hearing that we did not raise the issue again After August 26 because the videos were made
known on August 26, and we spent all of our time on analyzing those (which took a lot of
time) before the Sept 1 30b6. After the 30b6, we did not pursue the matter until the
revelations regarding all of the emails and documents the GBI located on the CCBOER desktop
and this action was filed.
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Wes Rahn <wrahn@olivermaner.com>
Sent: Tuesday, November 21, 2023 4:59 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>
Cc: Marilyn Marks <marilyn@uscgg.org>; Ben Perkins <bperkins@olivermaner.com>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>
Subject: RE: CCG v. CCBOER

Halsey/Cary,

Can you please produce the requested wri en objec ons? If no wri en objec ons to the privilege log were made a er
August 26, 2022, please let us know.

Thanks,

Wes Rahn
                                                         1
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218 West State Street (31401)
P.O. Box 10186
Savannah, Georgia 31412
(912) 236-3311 telephone
(912) 236-8725 facsimile

From: Wes Rahn
Sent: Friday, November 17, 2023 2:37 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>
Cc: Marilyn Marks <marilyn@uscgg.org>; Ben Perkins <bperkins@olivermaner.com>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>
Subject: RE: CCG v. CCBOER

Halsey/Cary,

See highlight below for ques on regarding objec ons to the privilege log.

If no wri en objec ons to the privilege log were made a er August 26, 2022, please let us know.

Thanks,

Wes Rahn




218 West State Street (31401)
P.O. Box 10186
Savannah, Georgia 31412
(912) 236-3311 telephone
(912) 236-8725 facsimile

From: Wes Rahn
Sent: Thursday, November 16, 2023 5:54 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Ben Perkins <bperkins@olivermaner.com>
Cc: Marilyn Marks <marilyn@uscgg.org>; Bruce Perrin Brown Esq. (bbrown@brucepbrownlaw.com)
<bbrown@brucepbrownlaw.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; sparks@khlawfirm.com; Rob
McGuire <ram@lawram.com>; Jill Connors <JConnors@IchterDavis.com>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Nick Kinsley <NKinsley@hallboothsmith.com>; Anthony A. Rowell
<ARowell@hallboothsmith.com>
Subject: RE: CCG v. CCBOER

Good evening Cary,

I wanted to let you know that the GBI’s a orney, Tina Piper, reached out to us regarding CCBOE’s subpoena to the GBI.
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Ms. Piper oﬀered the following proposal:
     The GBI will provide a wri en response to our subpoena sta ng that everything the CCBOE requested is in a
        forensic image of Ms. Hampton’s desktop.
     The GBI will produce (1) the forensic image and (2) an unredacted version of the GBI report.
     However, both will only be produced if the CCBOE agrees to a protec ve order that will cover the en re
        produc on and con nue un l the criminal cases are prosecuted.

Since the CCBOE agreed to work with the Coali on on subpoenas, we wanted to run this proposal by you before making
any decision.

On a separate note, on the status call yesterday, you stated that the Coali on would provide objec on(s) to the privilege
log that were purportedly made a er the privilege log was supplemented with dates on or about August 26, 2022. Can
you please provide those at your earliest convenience?

Thanks,

Wes Rahn




218 West State Street (31401)
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